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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


[PROPOSED] REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE (LETTER
    OF REQUEST) UNDER THE HAGUE CONVENTION ON THE TAKING OF
  EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS FOR EVIDENCE
           FROM OSKAR HANSSON AND SHORENA JANELIDZE




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     [Proposed] Request for International Judicial Assistance Pursuant to the Hague
  Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial
                                        Matters

TO: THE MINISTRY OF JUSTICE OF SWEDEN

         The United States District Court for the Western District of Texas (the “Court”) presents

its compliments to the Ministry of Justice of Sweden and requests assistance in obtaining evidence

to be used in civil proceedings before this Court. This request (“Letter of Request”) is made

pursuant to, and in conformity with, Chapter I of the Hague Convention of 18 March 1970 on the

Taking of Evidence Abroad in Civil or Commercial Matters (the “Hague Convention”), to which

both the United States and Sweden are party, Rule 28 of the United States Federal Rules of Civil

Procedure, and SFS Nos. 1946:816 and 2022:622 of the Swedish Code of Statutes. The Court

requests assistance in compelling testimony from Professor Oskar Hansson and Dr. Shorena

Janelidze, non-party witnesses located in Sweden.

                                    LETTER OF REQUEST

         (Convention of 18 Mar. 1970 on the Taking of Evidence Abroad in Civil or Commercial

Matters)

 1.      Sender                 Hon. David A. Ezra, Senior U.S. District Judge
                                United States District Court for the Western District of Texas
                                Austin Division
                                U.S. District Clerk’s Office
                                501 West Fifth Street, Suite 1100
                                Austin, TX 78701 USA

                                This letter will be transmitted on behalf of the Court by counsel
                                for the Plaintiffs, with the Court’s permission.

 2.      Central Authority of   Division for Criminal Cases and
         the Requested State    International Judicial Co-operation
                                Ministry of Justice
                                SE-103 33 Stockholm
                                Sweden
                                Telephone: +46 8 405 10 00
                                ju.birs@gov.se

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 3.      Persons to whom the   Daniel S. Drosman
         executed request is   Rachel L. Jensen
         to be returned        Kevin A. Lavelle
                               Megan A. Rossi
                               Heather Geiger
                               Jeremy W. Daniels
                               Robbins Geller Rudman & Dowd LLP
                               655 West Broadway, Suite 1900
                               San Diego, CA 92101 USA
                               Telephone: +1 619/231-1058
                               Fax: +1 619/231-7423
                               dand@rgrdlaw.com
                               rachelj@rgrdlaw.com
                               klavelle@rgrdlaw.com
                               mrossi@rgrdlaw.com
                               hgeiger@rgrdlaw.com
                               jdaniels@rgrdlaw.com

                               Gregg Costa
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                               Gibson, Dunn & Crutcher LLP
                               811 Main Street, Suite 3000
                               Houston, TX 77002
                               Telephone: +1 346/718-6600
                               Fax: +1 346/718-6979
                               gcosta@gibsondunn.com
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                               Monica K. Loseman
                               Scott Campbell
                               John Turquet Bravard
                               Gibson, Dunn & Crutcher LLP
                               1801 California Street
                               Denver, CO 80202-2642
                               Telephone: +1 303/298-5700
                               Fax: +1 303/298-5907
                               mloseman@gibsondunn.com
                               scampbell@gibsondunn.com
                               jturquetbravard@gibsondunn.com

                               Mary Beth Maloney
                               Gibson, Dunn & Crutcher LLP
                               200 Park Avenue
                               New York, NY 10166
                               Telephone: +1 212/351-4000
                               Fax: +1 212/351-6315
                               mmaloney@gibsondunn.com

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 4.       Specification of the date by which the requesting authority requires receipt of the response
          to the Letter of Request
          Date                     November 15, 2024

          Reason for urgency      The evidence sought through this request is not available through
                                  other means because there are no known witnesses available in
                                  the United States that can speak for Lund University or the
                                  research conducted at Lund University. Hence, it is respectfully
                                  requested that this request be handled with urgency, as the
                                  evidence is important for trial proceedings.

          In conformity with Article 3 of the Convention, the undersigned applicant has the honor to

submit the following request:

 5. a     Requesting authority    United States District Court for the Western District of Texas,
          (Art. 3(a))             Austin Division

      b   To the Competent        Sweden
          Authority of
          (Art. 3(a))
      c   Names of the case       In re Cassava Scis., Inc. Sec. Litig., No. 1:21-cv-00751-DAE
          and any identifying     (W.D. Tex.)
          number

 6.             Names and addresses of the parties and their representatives (including
                representatives in the Requested State) (Art. 3(b))
      a         Plaintiffs          Mohammad Bozorgi
                                    3799 Parkland Drive
                                    Fairfax, VA 22033 USA

                                  Ken Calderone
                                  221 Burns Street, Apartment 2
                                  Forest Hills, NY 11375 USA

                                  Manohar K. Rao
                                  5743 Genoa Springs Lane
                                  Sugar Land, TX 77479 USA




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                Representatives   Mr. Bozorgi, Mr. Rao, and Mr. Calderone are represented by:

                                  Daniel S. Drosman
                                  Rachel L. Jensen
                                  Kevin A. Lavelle
                                  Megan A. Rossi
                                  Heather Geiger
                                  Jeremy W. Daniels
                                  Robbins Geller Rudman & Dowd LLP
                                  655 West Broadway, Suite 1900
                                  San Diego, CA 92101 USA
                                  Telephone: +1 619/231-1058
                                  dand@rgrdlaw.com
                                  rachelj@rgrdlaw.com
                                  klavelle@rgrdlaw.com
                                  mrossi@rgrdlaw.com
                                  hgeiger@rgrdlaw.com
                                  jdaniels@rgrdlaw.com

                                  Joe Kendall
                                  Kendall Law Group, PLLC
                                  3811 Turtle Creek Boulevard, Suite 1450
                                  Dallas, TX 75219 USA
                                  Telephone: +1 214/744-3000
                                  jkendall@kendalllawgroup.com

                                  Mr. Rao is also represented by:

                                  Charles H. Linehan
                                  Glance Prongay & Murray LLP
                                  1925 Centure Park East, Suite 2100
                                  Los Angeles, CA 90067 USA
                                  Telephone: +1 310/201-9150
                                  clinehan@glancylaw.com

                                  The Plaintiffs are also represented, with respect to this Letter of
                                  Request only, by:

                                  Ludvig Holm
                                  Olof Olsson
                                  Westerberg & Partners Advokatbyrå AB
                                  P.O. Box 3101
                                  103 62 Stockholm
                                  +46 8 5784 03 00
                                  ludvig.holm@westerberg.com
                                  olof.olsson@westerberg.com


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                                  Theodore J. Folkman
                                  Rubin and Rudman LLP
                                  53 State Street
                                  Boston, MA 02109 USA
                                  Telephone: +1 617/330-7000
                                  tfolkman@rubinrudman.com

    b           Defendants        Cassava Sciences, Inc.
                                  6801 N. Capital of Texas Highway
                                  Building 1
                                  Austin, TX 78731 USA

                                  Remi Barbier
                                  3800 Cassava Drive
                                  Austin, TX 78746 USA

                                  Eric Schoen
                                  11305 Hollister Drive
                                  Austin, TX 78739 USA

                                  Lindsay Burns
                                  3800 Cassava Drive
                                  Austin, TX 78746 USA


                Representatives   Cassava Sciences, Inc. and Mr. Schoen are represented by:

                                  Gregg Costa
                                  Trey Cox
                                  Gibson, Dunn & Crutcher LLP
                                  811 Main Street, Suite 3000
                                  Houston, TX 77002 USA
                                  Telephone: +1 346/718-6600
                                  gcosta@gibsondunn.com
                                  tcox@gibsondunn.com

                                  Monica K. Loseman
                                  Scott Campbell
                                  John Turquet Bravard
                                  Gibson, Dunn & Crutcher LLP
                                  1801 California Street
                                  Denver, CO 80202-2642 USA
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                                  jturquetbravard@gibsondunn.com


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                               Mary Beth Maloney
                               Gibson, Dunn & Crutcher LLP
                               200 Park Avenue
                               New York, NY 10166 USA
                               Telephone: +1 212/351-4000
                               mmaloney@gibsondunn.com

                               Mr. Barbier and Ms. Burns are represented by:

                               C. Shawn Cleveland
                               Baker & Hostetler LLP
                               2850 North Harwood Street, Suite 1100
                               Dallas, TX 75201 USA
                               Telephone: +1 214/210-1200
                               scleveland@bakerlaw.com

                               Douglas W. Greene
                               Baker & Hostetler LLP
                               45 Rockefeller Plaza
                               New York, NY 10111 USA
                               Telephone: +1 212/847-7090
                               dgreene@bakerlaw.com


 7. a    Nature of the         This is an investor action for violations of the United States
         proceedings           Securities Exchange Act of 1934 and United States Securities and
                               Exchange Commission Rule 10b-5, which prohibit companies
                               and their “control persons” from fraud in the sale of publicly
                               traded securities. The proceedings are currently in discovery, the
                               purpose of which is to let the parties gather, obtain, and exchange
                               evidence in preparation for trial. The request refers to testimonies
                               which are not included by the Swedish exemption regarding
                               pretrial discovery of documents.

    b    Summary of the case   Cassava Sciences, Inc. (“Cassava”), a publicly traded company,
                               and its top executives (“Defendants”) made certain statements to
                               investors concerning a drug candidate for treatment for
                               Alzheimer’s disease, called “simufilam” or PTI-125. The
                               Plaintiffs allege that Defendants misled investors about simufilam
                               during the relevant time period, and that the Defendants employed
                               a scheme or course of business conduct to defraud. The Plaintiffs
                               further allege that Defendants’ fraud caused Cassava securities to
                               trade at artificially inflated prices. According to Plaintiffs’
                               allegations, when the truth was later revealed in a series of partial
                               disclosures, the price of Cassava securities fell, damaging
                               Plaintiffs and other investors. The Plaintiffs seek to recover those
                               losses in the case.

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                                Of particular relevance to this Letter of Request, the Plaintiffs
                                allege that Defendants undertook a placebo-controlled trial of
                                simufilam in September 2019, which was analyzed by Professor
                                Hansson and Dr. Janelidze at Lund University and did not meet
                                its primary endpoint. Cassava later announced that the initial
                                bioanalysis conducted at Lund University “showed highly
                                anomalous data” and that the company relied on a second analysis
                                by Hoau-Yan Wang, a Cassava scientific collaborator operating a
                                lab at the City University of New York, which Defendants
                                claimed met the trial’s primary endpoint. The Plaintiffs allege
                                that Cassava’s stock price increased after Defendants announced
                                the new lab results, and that certain statements regarding those lab
                                results were false or misleading. The Plaintiffs allege that the
                                company rejected the Lund University results because they did
                                not reach the company’s desired outcome. The testimony sought
                                through this request relates to the Lund University lab’s
                                involvement in Defendants’ clinical trial.

    c    Summary of defense     The Defendants deny the claims and assert affirmative defenses.
         and counterclaim       Defendants specifically deny that they rejected the Lund
                                University results because they did not reach the company’s
                                desired outcome; and that they made any false or misleading
                                statements about the lab results.

    d    Other necessary        Not applicable.
         information or
         documents

 8. a    Evidence to be         The parties are seeking the testimony of Professor Oskar Hansson
         obtained or other      and Dr. Shorena Janelidze.
         judicial act to be
         performed (Art.
         3(d))
    b    Purpose of the         The parties seek evidence in the form of testimony regarding the
         evidence or judicial   biomarker analysis conducted by Professor Hansson and Dr.
         act sought.            Janelidze in 2020, including the procedures and results of that
                                analysis.

                                The purpose of the testimony the parties expect to elicit is to
                                discover material facts relating to:

                                   1. Professor Hansson’s qualifications in the field of
                                      neurology and more specifically in the field of
                                      Alzheimer’s disease.



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                                   2. The reputation of Professor Hansson’s lab at Lund
                                       University in the field of neurology and more specifically
                                       in the field of Alzheimer’s disease.
                                   3. The application of research and professional standards to
                                       Professor Hansson and his laboratory at Lund University.
                                   4. The contract between Cassava and Lund University for
                                       Professor Hansson and his lab to conduct the bioanalysis
                                       of cerebrospinal fluid in the Phase 2 clinical trial.
                                   5. Whether Cassava and Professor Hansson and his
                                       laboratory established an appropriate research protocol in
                                       line with best practices in the field.
                                   6. Whether Professor Hansson and his laboratory followed
                                       the research protocol, the Professional Services
                                       Agreement, and Cassava’s instructions.
                                   7. The reliability of the results of Professor Hansson’s and
                                       his laboratory’s work.
                                   8. The propriety of the methods or research protocol used in
                                       research.
                                   9. Whether it would be factually correct to suggest that the
                                       research conducted at Professor Hansson’s lab at Lund
                                       University for Cassava was invalid.
                                   10. Dr. Janelidze’s qualifications in the field of neurology and
                                       more specifically in the field of Alzheimer’s disease.
                                   11. Whether Dr. Janelidze and her colleagues followed the
                                       established research protocol, the Professional Services
                                       Agreement, and Cassava’s instructions.
                                   12. Dr. Janelidze’s correspondence with defendant Lindsay
                                       Burns regarding the research conducted at Lund
                                       University, including correspondence about the protocol,
                                       progress, and results of the research.
                                   13. Dr. Janelidze’s involvement in Cassava’s Phase 2 clinical
                                       trial bioanalysis conducted at Lund University.


 9.      Identity and address   Professor Oskar Hansson (ID Number 19750809-4013)
         of persons to be       Ekelundsvägen 24
         examined (Art. 3(e))   224 72 Lund
                                Sweden
                                Telephone (work): (+46) 722 267 745
                                Email (work): oskar.hansson@med.lu.se

                                Doctor Shorena Janelidze (ID Number 19711003-7723)
                                Östanväg 12 lgh 1003
                                22275 Lund
                                Sweden
                                Telephone (work): (+46) 462 229 667
                                Email (work): shorena.janelidze@med.lu.se

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 10.     Questions to be put     Professor Hansson and Dr. Janelidze will be examined about the
         to the persons to be    following general topics:
         examined, or
         statements of the          1. Their academic and professional credentials.
         subject matter about       2. Their professional career and research in neurology, and
         which they are to be          in particular in Alzheimer’s disease.
         examined (Art. 3(f))       3. The work their lab at Lund University performs.
                                    4. The Professional Services Agreement between Cassava
                                       Sciences, Inc. and Lund University dated 10 February
                                       2020.
                                    5. The work that their lab performed under that agreement.
                                    6. Communications between Professor Hansson and/or Dr.
                                       Janelidze and Cassava, regarding the performance of
                                       services under the contract, including but not limited to
                                       the communications attached as Annex A to this Letter of
                                       Request.

 11.     Documents or other      Not applicable.
         property to be
         inspected (Art. 3(g))

 12.     Any requirement         The Court respectfully requests that, to the extent not inconsistent
         that the evidence be    with Swedish law, the witness be sworn before testifying.
         given on oath or
         affirmation and any
         special form to be
         used (Art. 3(h))

 13.     Special methods or      The Court requests that the following special procedures be used,
         procedures to be        to the extent possible:
         followed (Arts 3(i)
         and 9)                     1. The U.S. lawyers for the parties should be permitted to put
                                       questions on the topics specified in Items 8.b and 10
                                       directly in English.
                                    2. If it is impermissible for the testimony to be taken in
                                       English, the U.S. lawyers for the parties should be
                                       permitted to put questions on the topics specified in Item
                                       s 8.b and 10 directly, through an English-Swedish
                                       authorized translator who the parties will undertake to
                                       furnish at their expense.
                                    3. If it is impermissible for the U.S. lawyers to lead the
                                       questioning, then Swedish counsel for the parties should
                                       be permitted to examine the witnesses as described above,
                                       or, alternatively, if putting questions in English is
                                       impermissible, by putting questions in Swedish.


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                                    4. In addition to whatever minutes or summary of the
                                       testimony the Swedish court will provide the testimony
                                       should be videotaped and audio recorded. The parties will
                                       undertake to provide a videographer at their expense. If it
                                       is not possible for the court to use its video and audio
                                       recording equipment, the parties will arrange for
                                       appropriate equipment. If it is impermissible to videotape
                                       the testimony, the audio should still be recorded for later
                                       transcription by the parties.
                                    5. It is asked that the Swedish Court instructs the witnesses
                                       under Chapter 36, Section 8 of the Swedish Code of
                                       Judicial Procedure (Swe: rättegångsbalken), to refresh
                                       their memories on the subject of their respective testimony
                                       by examining notes, correspondence, and other documents
                                       accessible to them.
                                    6. To the extent any request in this section is deemed
                                       incompatible with Swedish principles of procedural law,
                                       it is to be disregarded and that aspect shall be conducted
                                       in accordance with Swedish procedural law.
                                    7. The Swedish Court shall consult the parties’ counsels on
                                       suitable dates and times for the examination.

 14.     Request for             The Court requests that the parties’ representatives identified in
         notification of the     items 6.a and 6.b of this letter be notified in advance of the time
         time and place for      and place for the execution of this request. The Court requests
         the execution of the    that the notice be provided by post and email.
         Request and identity
         and address of any
         person to be notified
         (Art. 7)

 15.     Request for             Not applicable.
         attendance or
         participation of
         judicial personnel of
         the requesting
         authority at the
         execution of the
         Letter of Request
         (Art. 8)

 16.     Specification of        Under U.S. law, a witness has a privilege to refuse to testify or
         privilege or duty to    produce evidence that contains confidential communications
         refuse to give          between a lawyer and client given for the purpose of giving or
         evidence under the      receiving legal advice. U.S. law has several other privileges,
         law of the              and it provides a quasi-privilege for “attorney work product,”
                                 that is, evidence that would disclose the mental impressions of
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         Requesting State       counsel. A witness who is a natural person – but not a
         (Art. 11(b))           corporation – also has a privilege under U.S. law to refuse to
                                testify or produce evidence if the evidence may incriminate the
                                witness as guilty of a crime. Based on the parties’ understanding
                                of the facts of this case, they do not expect that any privileges
                                under U.S. law will be relevant.
 17.     The fees and costs     The Plaintiffs and Defendants.
         incurred which are
         reimbursable under
         the second
         paragraph of Article
         14 or under Article
         26 of the Convention
         will be borne by:

                                         CONCLUSION

         In the spirit of comity and reciprocity, this Court hereby requests international judicial

assistance from Sweden in the form of this Letter of Request to obtain the oral examination, under

oath, of Professor Oskar Hansson and Dr. Shorena Janelidze concerning the topics listed above in

Section 10. This Court expresses its sincere willingness to provide similar assistance to the courts

of Sweden if future circumstances should require.




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         This Court respectfully requests that this Letter of Request be given the highest

consideration and enforced, in its entirety, as soon as practicable. This Court expresses its gratitude

and sincere willingness to provide similar assistance to the courts of Sweden if future

circumstances should require.

Date of Request: ________________, 2024

Signature and Seal of the Requesting Authority:

___________________________________________________
The Honorable David Alan Ezra
Senior United States District Judge
United States District Court for the Western District of Texas
Austin Division
501 West Fifth Street, Suite 1100
Austin, TX 78701 USA


DATED: _________________________               ____________________________________
                                               THE HONORABLE DAVID ALAN EZRA
                                               SENIOR UNITED STATES DISTRICT JUDGE


[Seal of the Court]




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